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                            UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

   JOHN ALBER,

                         Plaintiff,

   v.                                                           Case No: 6:17-cv-160-Orl-31KRS

   GEICO GENERAL INSURANCE
   COMPANY,

                         Defendant.


                                                 ORDER
          This matter comes before the Court without a hearing on the Motion for Reconsideration

   (Doc. 18) filed by the Plaintiff, John Alber. Although the deadline for a response has passed, the

   Defendant did not respond to the motion.

          Alber seeks reconsideration of this Court’s order of March 20, 2017 (Doc. 17), denying his

   motion to remand this matter back to state court. In concluding that the amount in controversy

   requirement was satisfied, the Court took into consideration the amount at issue in Alber’s bad faith

   claim. However, as Alber points out, that claim has been abated pending the resolution of his

   uninsured motorist claim. As such, based on past precedent, the value of the bad faith claim should

   not have been taken into consideration in assessing the amount in controversy. See Brown v.

   Safeco Ins. Co. of Ill., No. 6:13-cv-1982-Orl-31GJK, 2014 WL 1478833 (M.D. Fla. Nov. 12, 2008).

   With the bad faith claim taken out of the equation, the amount in controversy is limited to the value

   of the uninsured motorist claim, which the Defendant has previously conceded is $40,000.

   Accordingly, the amount in controversy requirement is not met, and remand is required.

          In consideration of the foregoing, it is hereby
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          ORDERED that the Motion for Reconsideration is GRANTED. And it is further

          ORDERED that this Court’s order of March 20, 2017 (Doc. 17) denying the Plaintiff’s

   Motion to Remand (Doc. 8) is VACATED. That motion is hereby GRANTED, and the Clerk is

   directed to REMAND the case to the Circuit Court of the Eighteenth Judicial Circuit, in and for

   Brevard County, Florida, and close the file.

          DONE and ORDERED in Chambers, Orlando, Florida on May 17, 2017.




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